Case 22-51030-AEC   Doc 31    Filed 02/08/24 Entered 02/08/24 15:56:36   Desc Main
                             Document      Page 1 of 5
Case 22-51030-AEC   Doc 31    Filed 02/08/24 Entered 02/08/24 15:56:36   Desc Main
                             Document      Page 2 of 5
Case 22-51030-AEC   Doc 31    Filed 02/08/24 Entered 02/08/24 15:56:36   Desc Main
                             Document      Page 3 of 5
Case 22-51030-AEC   Doc 31    Filed 02/08/24 Entered 02/08/24 15:56:36   Desc Main
                             Document      Page 4 of 5
Case 22-51030-AEC   Doc 31    Filed 02/08/24 Entered 02/08/24 15:56:36   Desc Main
                             Document      Page 5 of 5
